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 7   MIKE HICKOK, and CHUCK KIMBALL
 8
 9                     UNITED STATES DISTRICT COURT

10                   SOUTHERN DISTRICT OF CALIFORNIA

11   BORREGO COMMUNITY HEALTH                 Case No. 22-CV-1056-BEN-KSC
12   FOUNDATION, a California nonprofit
13   public benefit corporation;              Assigned to Hon. Roger T. Benitez

14
                      Plaintiff,              REPLY MEMORANDUM IN
15                                            SUPPORT OF RULE 12(b)(6)
          vs.                                 MOTION TO DISMISS
16
                                              PLAINTIFF’S FIRST AMENDED
17                                            COMPLAINT AGAINST
     KAREN HEBETS, an individual; MIKIA       DEFENDANTS HARRY ILSLEY,
18   WALLIS, an individual; DIANA             DENNIS NOURSE, MIKE
19   THOMPSON, f/k/a DIANA                    HICKOK, AND CHUCK
     TRONCOSO, an individual; HARRY           KIMBALL (ECF 185)
20
     ILSLEY, an individual; DENNIS
21   NOURSE, an individual; MIKE          Date:       July 3, 2023
22   HICKOK, an individual; CHUCK         Time:       10:30 a.m.
     KIMBALL, an individual; PREMIER      Courtroom:  5A
23
     HEALTHCARE MANAGEMENT, INC.,
24
     a California Corporation; SUMMIT
25   HEALTHCARE MANAGEMENT, INC.,
26   a California Corporation; DARYL
     PRIEST, an individual; NICHOLAS
27
     PRIEST, an individual; TRAVIS LYON,
28   an individual; HUSAM E. ALDAIRI,
                                        1
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 1   D.D.S., an individual; ALDAIRI DDS,
 2   INC., a California corporation; AYED
     HAWATMEH, D.D.S., an individual;
 3
     HAWATMEH DENTAL GROUP, P.C.,
 4   a California Corporation; ALBORZ
 5   MEHDIZADEH, D.D.S., an individual;
     ALBORZ MEHDIZADEH, INC., a
 6
     California Corporation; JILBERT
 7   BAKRAMIAN, D.D.S., an individual;
 8   MOHAMMED ALTEKREETI, D.D.S.,
 9   an individual; MAGALY VELASQUEZ,
     D.D.S., an individual; MAGALY M.
10   VELASQUEZ DDS PROFESSIONAL
11   DENTAL CORP., a California
12   Corporation; ARAM ARAKELYAN,
     D.D.S., an individual; NEW
13
     MILLENNIUM DENTAL GROUP OF
14   ARAM ARAKELYAN, INC., a
15   California Corporation; MICHAEL
     HOANG, D.M.D., an individual;
16
     WALEED STEPHAN, D.D.S., an
17   individual; W.A. STEPHAN, A DENTAL
18   CORPORATION, a California
19   Corporation; SANTIAGO ROJO, D.D.S.,
     an individual; SANTIAGO A. ROJO,
20   D.D.S., INC., a California Corporation;
21   MARCELO TOLEDO, D.D.S., an
22   individual; MARCELO TOLEDO,
     D.D.S., INC., a California corporation;
23
     MARLENE THOMPSON, D.D.S., an
24   individual; MARLENE THOMPSON,
25   D.D.S., INC., a California Corporation;
     DOUGLAS NESS, D.D.S., an individual;
26
     NESS DENTAL CORPORATION, a
27   California Corporation; GEORGE
28   JARED, D.D.S., an individual; GEORGE
                                     2
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 1   JARED, D.D.S., INC., a California
 2   corporation; JAMES HEBETS, an
     individual; THE HEBETS COMPANY, a
 3
     Missouri Corporation; KBH
 4   HEALTHCARE CONSULTING, LLC
 5   and DOES 1- 250, inclusive.
 6
 7                   Defendants.
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 1                MEMORANDUM OF POINTS AND AUTHORITIES
 2         Defendants Harry Ilsley, Dennis Nourse, Mike Hickock, and Chuck Kimball
 3   (the “Board Defendants”) respectfully submit this Reply in Support of Rule
 4   12(b)(6) Motion to Dismiss Plaintiff Borrego Community Health Foundation’s
 5   (“Plaintiff” or “Borrego”) First Amended Complaint (“FAC”).
 6                                  I.   INTRODUCTION
 7         Plaintiff’s Consolidated Opposition (ECF 194) fails to address many of the
 8   arguments raised in the Board Defendants’ motion to dismiss (ECF 185).
 9   Fundamentally, the FAC fails to plausibly allege that any of the Board Defendants
10   personally participated in, benefited from, or reasonably should have known about
11   the fraudulent claims that third-party medical/dental providers allegedly submitted
12   to Borrego. The FAC alleges that the Board Defendants blessed former Borrego
13   executives’ decision to enter into a master services agreement (MSA) with claims
14   administrator Premier. However, the FAC fails to complete the additional necessary
15   step of alleging that any Board Defendant knew, or reasonably should have known,
16   that providers were submitting false claims to Premier under the MSA.
17   Accordingly, there are no allegations linking any Board Defendant to the systematic
18   false billing that gives rise to Plaintiff’s RICO and common-law causes of action.
19         The facts underlying the other alleged “schemes” relevant to the Board
20   Defendants—the De Anza Country Club Scheme, the Julian Barn Scheme, and the
21   Property Development Scheme—also do not give rise to any RICO or common law
22   cause of action against any Board Defendant.
23         For reasons discussed here and in the Board Defendants’ motion to dismiss,
24   the Court should dismiss all of the causes of action pled against the Board
25   Defendants for failure to state a claim. Moreover, because Plaintiff has already tried
26   and failed to amend its complaint to cure defective allegations as to the Board
27   Defendants, and because Plaintiff has not proffered specific facts that could state a
28   claim against the Board Defendants, the Court may deny further leave to amend.
                                     9
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 1   See Salameh v. Tarsadia Hotel, 726 F.3d 1124, 1133 (9th Cir. 2013).
 2                                    II.   ARGUMENT
 3   A.      The First Cause of Action (RICO) Fails To State A Claim Against The
             Board Defendants.
 4
           In their motion to dismiss, the Board Defendants argued that Plaintiff failed
 5
     to plead any valid RICO claim against any of the Board Defendants on grounds that
 6
     (1) many of the legal violations alleged in the FAC are not “racketeering activities”
 7
     listed in 18 U.S.C. § 1961(1); (2) Plaintiff failed to plead with particularity, under
 8
     Fed. R. Civ. P. 9(b), that any Board Defendant participated or knew about any act
 9
     of mail or wire fraud or transacted in property obtained through healthcare fraud;
10
     (3) Plaintiff failed to plead that any Board Defendant participated or knew about
11
     any “pattern” of racketeering activity; and (4) Plaintiff failed to plead that any
12   racketeering activity involving any Board Defendant proximately caused Borrego
13   to lose money or property.
14         The Opposition does not engage with many of the arguments raised in the
15   Board Defendants’ motion to dismiss. For the following reasons, Plaintiff’s
16   arguments fail to show that Plaintiff has stated a valid RICO claim against the Board
17   Defendants.
18           1. The Complexity Of The Case Does Not Exempt Plaintiff From
                Meeting The Heightened Pleading Requirement Of Rule 9(b).
19
           A major flaw in Plaintiff’s FAC—at least as to the Board Defendants—is the
20
     absence of specific allegations that any Board Defendant personally knew about or
21
     participated in any racketeering activity. It is well established that RICO claims
22
     based upon predicate acts sounding in fraud must meet the heightened pleading
23
     requirement of Fed. R. Civ. P. 9(b). Lancaster Cmty. Hosp. v. Antelope Valley Hosp.
24
     Dist., 940 F.2d 397, 405 (9th Cir. 1991); see, e.g., Cisneros v. Petland, Inc., 972
25
     F.3d 1204, 1217 (11th Cir. 2020) (particularized allegations of the “who, what,
26   when, where, and how” are “required for RICO liability”).
27         As Plaintiff now concedes, the only predicate acts alleged in the FAC are (1)
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                                     10
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 1   mail and wire fraud (18 U.S.C. §§ 1341, 1343); and (2) laundering or transacting in
 2   money obtained by healthcare fraud (18 U.S.C. §§ 1956(c)(7)(F), 1957(a)). See
 3   Opp. at 27:22-28:16.
 4         Plaintiff argues that the Rule 9(b) particularity requirement for these offenses
 5   “is relaxed when facts supporting the allegations are exclusively within the

 6   defendants’ possession.” Opp. at 19:11-13 (citing Mueller v. Walgreen Corp., 175
     F.R.D. 631, 635 (N.D. Cal. 1997). However, Mueller granted the 12(b)(6) motion
 7
     and held that “plaintiff in the instant case fails to provide any specific examples of
 8
     the time, place, or content of the allegedly fraudulent scheme.” Id. at 635
 9
     (“Plaintiff's generalized allegations prevent defendant from being able to defend
10
     against the alleged misconduct.”); see Semegen v. Weidner, 780 F.2d 727, 730 (9th
11
     Cir. 1985) (noting that Rule 9(b) is intended to “ensure[ ] that allegations of fraud
12
     are specific enough to give defendants notice of the particular misconduct which is
13
     alleged to constitute the fraud charged so that they can defend against the charge
14   and not just deny that they have done anything wrong”). Here, likewise, Plaintiff
15   has failed to plead particularized facts that show when or how any Board Defendant
16   personally participated or conspired to commit any cognizable racketeering activity
17   that proximately caused harm to Borrego.
18           2. Plaintiff’s Opposition Does Not Point To Any Sufficient Allegation
19              That Any Board Defendant Participated In Any RICO Predicate
                Act Of Racketeering.
20
           With respect to mail and wire fraud, Plaintiff’s FAC has not specifically pled
21
     where, when, how, or to whom any Board Defendant transmitted any materially
22
     false statement via mail or wire that was intended to deceive Borrego. Nor has
23   Plaintiff specifically pled that any Board Defendant personally obtained money or
24   property from Borrego through any fraudulent mail or wire. Plaintiff’s generic
25   allegation that the “Borrego Insiders” collectively received unspecified kickbacks
26   from third parties in exchange for providing “access or control” of Borrego is too
27   general to state a claim because it does not allege how, where, when, or from whom
28   any particular Board Defendant procured money or property by fraud. Cisneros,
                                     11
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 1   972 F.3d at 1217. Plaintiff also fails to allege that any Board Defendant fraudulently
 2   attempted or conspired to obtain money or property from Borrego—a required
 3   element of a mail or wire fraud violation. See United States v. Lew, 875 F.2d 219,
 4   221-222 (9th Cir. 1989) (wire fraud requires scheme to obtain money or property
 5   from victim).

 6         For purposes of 18 U.S.C. §§ 1956 and 1957, Plaintiff also fails to allege
     when, how, or from whom any Board Defendant attempted or conspired to receive
 7
     any money obtained by means of a “federal health care offense.”
 8
           In the Opposition, Plaintiff cites a handful of purported examples where the
 9
     Board Defendants allegedly committed predicate RICO violations. See Opp. at
10
     22:16-23:10. These allegations include: the Board Defendants’ votes to authorize
11
     Borrego to enter the Dental MSA and Medical MSA; negotiation of certain lease
12
     agreements that Borrego entered into with third-parties; approval of a corporate
13
     compensation package for Borrego’s ex-CEO; and provision of “vague” updates to
14   the full Board of Directors. None of these alleged transactions describe any specific
15   instance where any Board Defendant made a specific false representation to any
16   agent of Borrego. None of these alleged transactions involved any Board Defendant
17   attempting to obtain anything of value from Borrego. None of these alleged
18   transactions involve any allegation that any Board Defendant received any specific
19   property from anyone—let alone property obtained by healthcare fraud.
20         Plaintiff also cites the allegation in the FAC that “the Board Insiders all
21   represented to the full Board that Bruce Hebets’ proposed $5 million ‘transition
22   agreement’ was fair because he was not receiving retirement benefits, despite
23   arranging for Bruce Hebets’ 162B retirement plan.” Opp. at 31:1-3 (citing FAC,

24   ¶395). Again, it is improper under Rule 9(b) to “merely lump multiple defendants
     together” in an allegation of fraud. Swartz v. KPMG LLP, 476 F.3d 756, 765 (9th
25
     Cir. 2007); see Cisneros, 972 F.3d at 1217 (blending the identities of defendants in
26
     factual allegations of fraud “is precisely the kind of vagueness in fraud pleadings
27
     Rule 9(b) was designed to prevent”). Moreover, this alleged incident cannot
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                                     12
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 1   amount to an alleged predicate mail or wire fraud violation by any Board Defendant
 2   because the FAC does not allege that any Board Defendant intended to obtain any
 3   money or property from Borrego as a result of allegedly misrepresenting the terms
 4   of Mr. Hebets’ transition agreement to the Board. Lew, 875 F.2d at 221-222.
 5         For all of the reasons set forth in the Board Defendants’ motion to dismiss,

 6   Plaintiff has failed to plead facts sufficient to prove that any Board Defendant
     personally knew of or participated in any predicate RICO violation. Plaintiff’s
 7
     opposition brief fails to point to any factual allegations that plead a predicate RICO
 8
     violation by any Board Defendant with the specificity required by Rule 9(b).
 9
             3. Plaintiff Has Failed To Plead Facts Sufficient To Establish That
10              Any Board Defendant Joined An Actionable RICO Conspiracy.
11         Plaintiff’s opposition makes a secondary argument that the FAC has pled
12   facts sufficient to prove a RICO conspiracy among all named defendants, including
13   the Board Defendants. Opp. at 31:15-21. This argument lacks merit.
14         As set forth in the Board Defendants’ motion to dismiss, the FAC fails to
15   allege that the Board Defendants were aware of, let alone conspired to commit, most
16   of the RICO “schemes” alleged in the FAC. See FAC, ¶398 (listing alleged RICO
17   “schemes”); Mot. at 2:2-8:15 (illustrating how of the 12 alleged “schemes,” only
18   four make specific reference to any Board Defendant). None of the four “schemes”
19   relevant to the Board Defendants amounted to an actionable violation of a RICO
20   predicate statute. See Mot. at 1:15-2:2, 13:16-14:24 (summarizing how none of the
21   relevant alleged schemes amount to a mail or wire fraud violation).
22          “To establish a violation of section 1962(d), Plaintiffs must allege either an
23   agreement that is a substantive violation of RICO or that the defendants agreed to
24   commit, or participated in, a violation of two predicate offenses.” Howard v. Am.
25   Online Inc., 208 F.3d 741, 751 (9th Cir. 2000); see Salinas v. United States, 522
26   U.S. 52, 65 (1997) (“A conspirator must intend to further an endeavor which, if
27   completed, would satisfy all of the elements of a substantive criminal offense… .”);
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                                     13
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 1   see also Baumer v. Pachl, 8 F.3d 1341, 1346 (9th Cir. 1993) (defendant must have
 2   been “aware of the essential nature and scope of the enterprise and intended to
 3   participate in it”).
 4          With respect to the Premier Scheme, there is no allegation that any Board
 5   Defendant knew, or could have known, that third-party healthcare providers were
 6   submitting false or fraudulent claims to Borrego under the MSAs that the Board
 7   Defendants allegedly voted to approve. Plaintiff’s allegation that the Board
 8   Defendants approved the MSA between Borrego and Premier is insufficient, under
 9   Rule 9(b), to show that any Board Defendant conspired with third-party medical
10   and dental providers to defraud Borrego by submitting false claims under the MSA.
11   See, e.g., Mueller, 175 F.R.D. at 635 (plaintiff’s “generalized” allegations that
12   enterprise engaged in fraudulent billing practices “prevent[ed] defendant from
13   being able to defend against the alleged misconduct” and fell short of Rule 9(b)
14   standard); see Semegen v. Weidner, 780 F.2d 727, 730 (9th Cir. 1985) (Rule 9(b) is
15   intended to “ensure[ ] that allegations of fraud are specific enough to give
16   defendants notice of the particular misconduct which is alleged to constitute the
17   fraud charged so that they can defend against the charge and not just deny that they
18   have done anything wrong”).
19          The remaining “schemes” relevant to the Board Defendants were the De
20   Anza Country Club Scheme, the Julian Barn Scheme, and the Property
21   Development Scheme. None of these “schemes” involved an actionable violation
22   of a predicate RICO statute.
23          Plaintiff admits “the [De Anza] deal did not move forward” and that Borrego
24   recovered its entire cash deposit for the purchase. FAC, ¶390. Accordingly, this
25   scheme is insufficient to support a RICO conspiracy claim. See 18 U.S.C. § 1964(c);
26   Painters & Allied Trades Dist. Council 82 Health Care Fund v. Takeda Pharms.
27   Co. Ltd., 943 F.3d 1243, 1248 (9th Cir. 2019) (to state a RICO claim, plaintiff must
28
                                     14
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 1   allege injury to its business or property “by reason of” a RICO violation).
 2         In the Julian Barn scheme, Plaintiff alleges that Borrego’s former CEO and
 3   Kimball arranged for Borrego to enter into a one-sided lease agreement with Julian
 4   Medical Foundation for an “unusable” rural property, wherein Julian Medical
 5   Foundation received excessive rent payments from Borrego. See FAC, ¶¶423-442.
 6   The “Julian Barn” scheme cannot amount to a predicate violation of wire fraud,
 7   among other reasons, because it does not contain any allegation that any defendant
 8   attempted to obtain money or property from Borrego. The alleged beneficiary of
 9   the allegedly one-sided lease, the Julian Medical Foundation, is not party to the
10   alleged RICO conspiracy. Plaintiff also failed to plead, with particularity, that any
11   defendant received anything of value from anyone as a result of the Julian Barn
12   scheme. Plaintiffs cannot convert a business agreement into wire fraud by tacking
13   on a generalized allegation that a group of company insiders all received
14   unspecified kickbacks from an unspecified source. See United States ex rel. STF,
15   LLC v. Vibrant Am., LLC, No. 16-CV-02487-JCS, 2020 WL 4818706, at *10 (N.D.
16   Cal. Aug. 19, 2020) (in kickback cases under Rule 9(b), “[b]road allegations that
17   include no particularized supporting detail do not suffice”) (quoting Bly-Magee v.
18   California, 236 F.3d 1014, 1018 (9th Cir. 2001)).
19         Finally, with respect to the Property Development Scheme, the FAC
20   conspicuously omits any allegation that Borrego consummated the planned
21   purchase of the Palm Canyon Parcel from Nourse. The FAC alleges that several
22   Board Defendants agreed to a transaction where Borrego would pay $400,000 to
23   purchase from Nourse an undeveloped parcel of land in Palm Canyon, CA. See
24   FAC, ¶¶433-468. Plaintiff implies, without any supporting facts, that this was an
25   unreasonable price for the parcel of land. Regardless, the FAC stops short of
26   alleging that Borrego actually paid $400,000 to Nourse for the parcel. The FAC also
27   fails to allege that the parcel is now worth less than $400,000. See also Opp. at
28   42:12-14 (admitting that the Property Development Scheme involved an alleged
                                     15
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 1   “attempt” to execute land purchase). Without any allegation of harm to Borrego,
 2   Plaintiff lacks standing to pursue a RICO claim predicated on this alleged scheme.
 3   See 18 U.S.C. § 1964(c); Takeda Pharms. Co. Ltd., 943 F.3d at 1248.
 4          4. The FAC Fails To Plead That The Board Defendants Joined In A
               “Pattern” Of Racketeering Activity.
 5
           Additionally, even if Plaintiff arguably alleged facts establishing that one of
 6
     the above schemes amounted to actionable mail or wire fraud, it would still fail to
 7
     establish a “pattern” of racketeering activity, which requires showing at least two
 8
     predicate violations within a period of 10 years. 18 U.S.C. § 1961(5). “Moreover,
 9
     these predicate acts must form a pattern—that is, they must be ‘ordered’ or
10
     ‘arranged.’ … It is not the number of predicates but the relationship that they bear
11
     to each other or to some external organizing principle that renders them ordered or
12
     arranged.” McGowan v. Weinstein, 562 F. Supp. 3d 744, 751 (C.D. Cal. 2021)
13
     (quoting H.J. Inc. v. Nw. Bell Tel. Co., 492 U.S. 229, 238 (1989)).
14
           There is no “organizing principle” that connects the four schemes that
15
     allegedly involved knowledge or participation of the Board Defendants. The
16
     MSA/ISO scheme was an alleged medical billing scheme. The De Anza, Julian
17
     Barn, and Property Development schemes were three unrelated deals for Borrego
18
     to purchase or lease property for use as clinic space. Two of them were never
19
     consummated, by the FAC’s own admission. These property deals are not
20
     connected by any common facts, agreement, or scheme to defraud Borrego.
21
           Accordingly, these schemes fail to state a RICO claim against the Board
22
     Defendants for the additional reason that they do not establish that any Board
23
     Defendant agreed to participate in any “pattern” of racketeering activity.
24
     B.     The Forty-Second (Fraudulent Concealment) And Forty-Third (False
25
            Promise) Causes Of Action Fail To State Any Claim Against Any Of
26          The Board Defendants.
27         The Board Defendants’ motion argued that Plaintiff (1) failed to specifically
28   plead that any Board Defendant concealed any particular fact from Borrego that the
                                     16
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 1   defendant had a duty to disclose, and (2) failed to specifically plead that any Board
 2   Defendant personally made any materially false representation to Borrego with
 3   intent to defraud Borrego. ECF 185-1 at 14:25-15:26, 23:26-24:20. Plaintiff’s
 4   opposition brief does not dispel these fatal deficiencies in the FAC.
 5         Specific to the Board Defendants, the opposition first argues that the “Board
 6   Insiders all promised the full Board that the Dental MSO proposal would be
 7   abandoned, then proceeded to enter into the Dental MSA with Premier.” Opp. at
 8   34:8-10. However, the cited paragraph in the operative FAC (¶84) does not actually
 9   allege that any Board Defendant made any such representation. See ECF 159 at ¶84
10   (alleging that Borrego’s former in-house counsel told outside counsel to Borrego
11   that the MSO would not go forward).
12         Second, the opposition argues that the former CEO, general counsel, and
13   Board Defendants then concealed their decision to enter into the Dental MSA with
14   Premier from the full board of directors. Opp. at 34:8-13. However, the FAC never
15   alleges facts establishing that the Board Defendants had a duty to disclose the
16   Dental MSA to the full board of directors. See Kaldenbach v. Mutual of Omaha Life
17   Ins. Co., 178 Cal.App.4th 830, 850 (2009) (elements of fraudulent concealment
18   include allegation that the defendant had a duty to disclose the concealed fact to the
19   plaintiff). Moreover, the FAC does not allege that entry into the Dental MSA caused
20   harm to Borrego. The alleged harm occurred when third-party medical providers
21   allegedly submitted false and inflated bills to Borrego. The FAC fails to allege
22   specific facts that connect the Board Defendants’ alleged non-disclosure of the
23   terms of the Dental MSA, to the actions of unrelated third-party medical providers
24   who submitted false claims to Borrego. See id. (elements of fraudulent concealment
25   include allegations that defendant’s misrepresentation proximately caused plaintiff
26   to suffer harm); see also Hemi Grp., LLC v. City of New York, N.Y., 559 U.S. 1, 11
27   (2010) (proximate cause lacking when “the conduct giving rise to the fraud” is
28   distinct from “the conduct directly causing the harm”).
                                     17
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 1         Third, the opposition argues that the Board Defendants “concealed their
 2   decision to approve an over $87,000 bonus for Bruce Hebets.” Opp. at 34:23-24
 3   (citing FAC, ¶360). Again, this allegation does not state a claim for fraud because
 4   the FAC does not allege that the Executive Committee had any legal obligation to
 5   obtain consent from the full Board of Directors before voting to approve a bonus
 6   payment to Borrego’s CEO. Nor does the FAC allege facts which demonstrate the
 7   Board Defendants had a duty to disclose this compensation vote to the Board.
 8         For these reasons, the opposition fails to explain how the FAC state a viable
 9   cause of action for fraud or fraudulent concealment against any Board Defendant
10   under the heightened pleading standard of Rule 9(b).
11   C.      The Forty-Fourth Cause Of Action (Conversion) Fails To State Any
             Claim Against Any Of The Board Defendants.
12
           The FAC alleges that all defendants are liable for conversion based upon their
13
     act of “knowingly taking money from Borrego Health for which Defendants were
14
     not entitled to, or at least prevented Borrego Health from receiving the full funds to
15
     which it was entitled.” FAC, ¶827.
16
           The Board Defendants’ motion to dismiss argued that Plaintiff’s conversion
17
     claim fails because Plaintiff does not allege, anywhere in the FAC, that any Board
18
     Defendant personally obtained any money that rightfully belonged to Borrego. ECF
19
     185-1 at 16:1-24. Plaintiff’s Opposition does not contest this argument. Rather,
20
     Plaintiff now shifts to a brand new theory of conversion: that the FAC alleges the
21
     Board Defendants “all received property in the form of free healthcare services and
22
     prescriptions.” Opp. at 35:18-19 (citing FAC, ¶367 (“the Board Insiders received
23
     free access to Borrego Health programs, benefits, prescription drugs and even
24
     hearing aids”). This new theory of liability fails on several grounds.
25
           First, there is no allegation in the FAC that the Board Defendants were not
26
     entitled to receive free or reduced-cost healthcare services as compensation for their
27
     positions with Borrego. The FAC even quotes an e-mail where defendant Mike
28
                                     18
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 1   Hickock states that he “was told this [receiving free medical benefits] was an
 2   acceptable practice [and that] staff and families get the same perk plus no charge
 3   for medical and dental care.” FAC, ¶368. “[T]he law is well settled that there can
 4   be no conversion where an owner either expressly or impliedly assents to or ratifies
 5   the taking, use or disposition of his property.” Farrington v. A. Teichert & Son, Inc.,
 6   59 Cal.App.2d 468, 474 (1943).
 7         Second, Plaintiff offers no authority for the notion that medical services are
 8   a form of personal property capable of supporting a claim for conversion. To state
 9   a claim for conversion, Plaintiff must allege that defendants interfered with
10   Plaintiff’s use or possession of tangible personal property without consent. Intel
11   Corp. v. Hamidi, 30 Cal.4th 1342, 1357 (2003) (explaining that economic injury
12   from increased costs caused by defendant’s conduct does not state a claim for
13   conversion). While modern cases have expanded the scope of property subject to
14   conversion—such as credit card information, bank accounts, and specifically
15   identifiable sums of money—the plaintiff still must “establish actual possession, or
16   ownership with the right to immediate possession, of the thing allegedly being
17   converted.” Wells Fargo Bank, Nat'l Ass'n v. Transamerica Life Ins. Co., No. 2:19-
18   cv-06791-CAS(GJSx), 2020 WL 709272, at *14 (C.D. Cal. Feb. 12, 2020); see also
19   Welco Elecs., Inc. v. Mora, 223 Cal. App. 4th 202, 211 (2014) (subject of
20   conversion must be “susceptible of possession or disposition”); Voris v. Lampert, 7
21   Cal. 5th 1141, 1148-1150 (2019) (failure to pay wages for services rendered does
22   not state a claim for conversion, but rather for breach of contract).
23         Medical services are an intangible service that is incapable of possession.
24   Plaintiff has merely alleged that Defendants failed to pay for unspecified medical
25   services that they received from Borrego. FAC, ¶368. This generalized allegation
26   does not state a claim for conversion under California law. Indeed, the law is clear
27   that “[a] cause of action for conversion of money can be stated only where a
28   defendant interferes with the plaintiff's possessory interest in a specific, identifiable
                                     19
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 1   sum” and “the simple failure to pay money owed does not constitute conversion.”
 2   Kim v. Westmoore Partners, Inc., 201 Cal.App.4th 267, 284 (2011). “Were it
 3   otherwise, the tort of conversion would swallow the significant category of contract
 4   claims that are based on the failure to satisfy “mere contractual right[s] of payment.”
 5   Voris, 7 Cal.5th at 1151-52.
 6   D.      The Forty-Fifth (Inducing Breach of Contract), Forty-Sixth
             (Intentional Interference With Contractual Relations), Forty-Seventh
 7
             (Intentional Interference With Prospective Economic Relations) and
 8           Forty-Eighth (Negligent Interference With Prospective Economic
             Relations) Causes Of Action Fail To State Any Claim Against Any Of
 9
             The Board Defendants.
10
           The Board Defendants’ motion to dismiss argued that the Board Defendants
11
     cannot be held liable for inducing breach of contract or interfering with Borrego’s
12
     contracts with dental providers or its relationship with Medi-Cal, based merely upon
13
     the Board Defendants’ alleged decision to authorize the Dental MSA. ECF 185-1
14
     at 17:12-19:17. The FAC fails to allege any facts that would establish any Board
15
     Defendant personally knew, or had reason to believe, that any dentist or medical
16
     provider would submit fraudulent bills to Borrego under the MSA.
17
           In Opposition, Plaintiff argues that “Wallis [Borrego’s former CEO] and the
18
     Board Insiders proposed and arranged for Borrego to pursue deals which would
19
     misappropriate government health care dollars,” and that “it was substantially
20
     certain that the contracts and economic relationships Borrego had with Medi-Cal
21
     and its dentists would be impacted.” Opp. at 38:20-22. To support this argument,
22
     Plaintiff indiscriminately cites to several hundred paragraphs in its complaint.
23
           Plaintiff’s opposition does not explain away the fundamental flaw in the
24
     FAC: the lack of specific allegations that any of the Board Defendants reasonably
25
     should have known about—let alone authorized or participated in—any fraudulent
26
     billing practices by any third-party medical providers. Simply put, the FAC fails to
27
     allege that any Board Defendant negligently or intentionally caused any contracted
28
                                     20
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 1   medical provider to breach the terms of their contract with Borrego or otherwise
 2   engage in conduct that threatened Borrego’s Medi-Cal contract. The FAC merely
 3   alleges that the Board Defendants authorized a master services agreement under
 4   which third parties could submit claims to Borrego. It requires a leap of logic, not
 5   supplied in the FAC, to assume that the Board Defendants should have known that
 6   unrelated third parties would submit false claims to Borrego under the MSA.
 7   E.      The Fifty-First Cause Of Action (Breach of Fiduciary Duty) Fails To
             State Any Claim Against Any Of The Board Defendants.
 8
           The Board Defendants’ motion to dismiss argued that none of the four alleged
 9
     schemes involving the Board Defendants amounted to a legally actionable breach
10
     of fiduciary duty. ECF 185-1 at 21:16-23:25. With respect to the Premier Scheme,
11
     Plaintiff’s FAC does not allege facts sufficient to overcome the business judgment
12
     rule and establish that the directors’ failure to prevent Borrego executives from
13
     entering the MSA contracts with Premier constituted gross negligence. The De
14
     Anza Property scheme does not amount to a breach of fiduciary duty because
15
     Plaintiff concedes that Borrego never consummated the transaction. The Property
16
     Development scheme did not amount to a breach of fiduciary because Plaintiff
17
     concedes that Nourse recused himself from the Board’s vote on the land purchase,
18
     the transaction was vetted by outside counsel, the FAC stops short of alleging that
19
     Borrego actually purchased the land from Nourse, and even if so, the FAC does not
20
     allege that Borrego received unreasonable value in return. See id.
21
           On Opposition, Plaintiff does not directly engage with any of these
22
     arguments. Instead, Plaintiff simply rehashes what is alleged in the FAC. See Opp.
23
     at 42:1-22. Plaintiff even concedes that the De Anza and Property Development
24
     Schemes were “attempts” to cause Borrego to enter into allegedly unfavorable
25
     transactions—thereby acknowledging that the company never consummated the
26
     transactions and therefore suffered no actionable injury. See id. (arguing that “Board
27
     Insiders also attempted to have Borrego buy a country club” and “Nourse attempted
28
                                     21
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 1   to have Borrego enter into an unconscionable agreement”) (emphasis added); see
 2   In re AWTR Liquidation Inc., 548 B.R. 300, 313 (Bankr. C.D. Cal. 2016) (to
 3   establish breach of fiduciary duty, plaintiff must allege and prove that it sustained
 4   damages proximately caused by the breach).
 5   F.     The Fiftieth Cause Of Action (Conspiracy) Fails To State Any Claim
            Against Any Of The Board Defendants.
 6
           The Board Defendants moved to dismiss on grounds that the FAC fails to
 7
     allege facts sufficient to establish that any Board Defendant entered into a
 8
     conspiracy to commit any actionable tort against Borrego. Mot. at 20:14-21:15.
 9
     Plaintiff’s opposition does not directly engage with the Board Defendants’
10
     argument. It instead claims that the FAC sufficiently alleges that “defendants all
11
     acted in concert with one another.” Opp. at 42:24-43:7. For reasons set forth in the
12
     Board Defendants’ motion and above with respect to RICO, the FAC fails to allege
13
     facts sufficient to prove that any Board Defendant entered into a conspiracy with
14
     any other defendant to commit any actionable tort or RICO predicate offense.
15
     G.     The Forty-Ninth Cause Of Action (Cal. Bus. & Prof. C. § 17200) Fails
16
            To State Any Claim Against Any Of The Board Defendants.
17
           Plaintiff argues that its UCL claim “is premised in its RICO and state law
18
     claims [and therefore] Borrego has sufficiently pled its UCL claims.” Opp. at 43:27-
19
     28. Because the FAC has failed to state any RICO or state law claim against any of
20
     the Board Defendants, it also fails to state a UCL claim against them.
21
     H.     The Fifty-Third Cause Of Action (Unjust Enrichment) Fails To State
22          Any Claim Against Any Of The Board Defendants.
23         Plaintiff argues “the FAC alleges that it would be inequitable for the
24   defendants to retain the money obtained via the alleged schemes.” Opp. at 44:7-8.
25   The FAC, however, does not allege that any Board Defendant obtained any money
26   from Borrego. And while the FAC generally alleges that the eight “Borrego
27   Insiders” collectively received unspecified “kickbacks or other payments or
28   remuneration” from unspecified persons in return for providing “access and
                                     22
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 1   control” to Borrego (see, e.g., FAC, ¶65), these bald conclusions are insufficient to
 2   plausibly allege that any Board Defendant was unjustly enriched. Bell Atlantic
 3   Corp. v. Twombly, 550 U.S. 544, 555 (2007) (courts “are not bound to accept as
 4   true a legal conclusion couched as a factual allegation”).
 5      I. The Court May Deny Leave To Further Amend The FAC.
 6         Leave to amend may be denied based upon a failure to cure deficiencies by
 7   repeated amendments. “To avoid dismissal after an opportunity to amend has been
 8   granted, plaintiff must disclose the specific facts that would cure the deficiency.”
 9   See Hon. Virginia A. Phillips, FEDERAL CIVIL PROCEDURE BEFORE TRIAL (The
10   Rutter Group 2021) at ¶9:294.1, p. 9-118.
11         Plaintiff has not done so here. Plaintiff tried and failed to cure the defects that
12   were raised in the Board Defendants’ original motion dismiss (ECF 110) and in the
13   motion to dismiss the FAC (ECF 185). Plaintiff now promises that it can “amend
14   its complaint to include further details for each defendant surrounding the schemes,
15   including additional meetings, e-mails, and mailings, as well as additional
16   allegations pertaining to alter-ego.” Opp. at 44:19-22. Plaintiff should have
17   included these supposed additional details in its 190-page FAC. “A plaintiff may
18   not in substance say ‘trust me,’ and thereby gain a license for further amendment
19   when prior opportunity to amend has been given.” Salameh v. Tarsadia Hotel, 726
20   F.3d 1124, 1133 (9th Cir. 2013). The Court may deny leave to further amend.
21                                  III.   CONCLUSION
22         For the reasons set forth here and in Defendants’ Motion to Dismiss (ECF
23   185), the Court should grant this motion of Defendants Harry Ilsley, Dennis Nourse,
24   Mike Hickock, and Chuck Kimball and dismiss all claims pled against them with
25   prejudice pursuant to F. R. Civ. P. 12(b)(6).
26
27
28
                                     23
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 1   DATED: June 23. 2023             THE FREEDMAN FIRM PC
 2
                                      By:   _________________________
 3                                          Michael G. Freedman
                                            Attorney for Defendants
 4
                                            HARRY ILSLEY, DENNIS
 5                                          NOURSE, MIKE HICKOK, and
                                            CHUCK KIMBALL
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